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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND



STATE OF CALIFORNIA, et al.,

                                       Plaintiffs,

               v.                                        No. 1:25-cv-00208-JJM-PAS


UNITED STATES DEPARTMENT OF
TRANSPORTATION, et al.,
                                    Defendants.



     PLAINTIFF STATES’ MOTION TO MODIFY PRELIMINARY INJUNCTION
      Plaintiff States respectfully ask this Court to modify the existing preliminary injunction and

extend its scope to protect two new plaintiffs recently added to the case: the District of Columbia

(D.C.) and the Office of the Governor, ex. rel. Andy Beshear, in his official capacity as Governor

of the Commonwealth of Kentucky (Kentucky Governor’s Office). See ECF No. 61, First Am.

Compl.; Ex. 1 (tracked changes version of Plaintiff States’ First Amended Complaint). Plaintiff

States met and conferred with Defendants on July 9, 2025, to inquire if Defendants would oppose

this motion. Defendants have not yet provided a response.

      On June 19, 2025, this Court entered a preliminary injunction enjoining Defendants U.S.

Department of Transportation (U.S. DOT) and Secretary of Transportation Sean P. Duffy from:

(1) implementing or enforcing the Immigration Enforcement Condition as set forth in the Duffy

Directive; (2) withholding or terminating federal funding based on the Immigration Enforcement

Condition, as set forth in the Duffy Directive, absent specific statutory authorization; (3) taking

adverse action against any state entity or local jurisdiction, including barring it from receiving or

making it ineligible for federal funding, based on the Immigration Enforcement Condition, absent

specific statutory authorization; and (4) forbidding and enjoining any attempt to implement the
Immigration Enforcement Condition, and any actions by the Defendants to implement or enforce



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the Immigration Enforcement Condition. ECF No. 57, Prelim. Inj. 1 The Court’s preliminary

injunction applies to the Plaintiff States and their governmental subdivisions. Id.

      On July 8, 2025, Plaintiff States filed a first amended complaint adding two additional

Plaintiff Parties: D.C. and the Kentucky Governor’s Office. See generally ECF No. 61, First Am.

Compl.; Fed. R. Civ. P. 15(a)(1)(B). The first amended complaint otherwise does not make any

substantive changes to Plaintiff States’ allegations, claims, or the factual bases for their claims.

See Ex. 1. In light of these two added Plaintiffs, Plaintiff States ask this Court to modify its

preliminary injunction and extend the preliminary injunction to protect D.C. and the Kentucky

Governor’s Office, in addition to Plaintiff States, for the same reasons this Court granted Plaintiff
States’ motion for a preliminary injunction.

      Here, the recent addition of D.C. and the Kentucky Governor’s Office as plaintiffs in this

case amounts to circumstances that warrant extension of the preliminary injunction to these new

plaintiffs as well. See Sys. Fed’n No. 91, Ry. Emp. Dep’t, AFL-CIO v. Wright, 364 U.S. 642, 647

(1961); cf. Auto Driveaway Franchise Sys., LLC v. Auto Driveaway Richmond, LLC, 928 F.3d

670, 675 (7th Cir. 2019) (“[T]he new pleadings did no more than to add Tactical Fleet to the list

of parties; they had no effect on Auto Driveaway’s basic grievance. The preliminary injunction is

still in place . . . . If circumstances change, the parties are always free to return to the district court

to ask for changes.”); Fed. R. Civ. P. 65(d)(2) (requiring “parties” to be bound by a preliminary

injunction). Both D.C. and the Kentucky Governor’s Office raise the same general legal claims as
the original Plaintiff States. See generally Ex. 1; cf. also State Farm Mut. Auto. Ins. Co. v. Tri-

Borough NY Med. Prac. P.C., 120 F.4th 59, 78–79 (2d Cir. 2024) (noting that an amended

complaint to add 16 defendants and additional factual details did not “materially change[] the

substantive basis” for the claims). For the same reasons this Court concluded that Plaintiff States


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           The Immigration Enforcement Condition, as defined in the Court’s preliminary
injunction, includes language requiring recipients of U.S. DOT funding to “cooperate with Federal
officials in the enforcement of Federal Law, including cooperating with and not impeding U.S.
Immigration and Customs Enforcement (ICE) and other Federal offices and components of the
Department of Homeland Security in and the enforcement of Federal immigration law.” ECF No.
57 at 2 n.1, Prelim. Inj.


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are likely to prevail on the merits, D.C. and the Kentucky Governor’s Office are likely to prevail

on their claims as well. See ECF No. 57 at 1-6, Prelim. Inj.

      Additionally, both D.C. and the Kentucky Governor’s Office demonstrate that they—like

other Plaintiff States—suffer the same types of irreparable harms from Defendants’ challenged

conduct. Both D.C. and the Kentucky Governor’s office receive and rely upon significant sums of

U.S. DOT funding to sustain critical programs and projects that ensure safe and reliable

transportation systems. See Ex. 2 (Kershbaum Decl.), ¶¶ 6-9; Ex. 3 (Gray Decl.), ¶¶ 11-28. Both

D.C. and the Kentucky Governor’s Office would suffer irreparable harm if U.S. DOT

transportation funding were denied, even if funding were restored at a later date. See Ex. 2
(Kershbaum Decl.), ¶¶ 6-9, 13-14; Ex. 3 (Gray Decl.), ¶¶ 11-28, 35-36. And both D.C. and the

Kentucky Governor’s Office risk incurring the same sovereign and public safety harms if they

accede to Defendants’ unlawful Immigration Enforcement Condition. See ECF No. 57 at 7, Prelim.

Inj.; see also, e.g., ECF No. 42-1, Ex. 53 (Wong Decl.), ¶¶ 51-53.

      Finally, for the same reasons this Court concluded that the balance of equities and public

interest favor a preliminary injunction to protect Plaintiff States, those factors likewise favor

extending the preliminary injunction to D.C. and the Kentucky Governor’s Office as well. See

ECF No. 57 at 8-9, Prelim. Inj. Thus, this Court should grant this motion and modify its preliminary

injunction to apply to D.C. and the Kentucky Governor’s Office, in addition to the original Plaintiff

States.

                                         CONCLUSION
      This Court should grant Plaintiff States’ motion to modify the preliminary injunction to

apply to D.C. and the Kentucky Governor’s Office, in addition to the original Plaintiff States.




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July 10, 2025                                    Respectfully submitted,

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                              CERTIFICATE OF SERVICE
Case Name:     State of California et al. v. U.S.        No.    1:25-cv-00208-JJM-PAS
               Dep’t of Transportation, et al.

I hereby certify that on July 10, 2025, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
   •   PLAINTIFF STATES’ MOTION TO MODIFY PRELIMINARY INJUNCTION
       (with Exhibits 1- 3)
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on July 10,
2025, at San Francisco, California.


              Delbert Tran
               Declarant                                             Signature
